     Case 13-32365             Doc 59   Filed 05/13/14 Entered 05/15/14 23:47:46      Desc Imaged
                                        Certificate of Notice Page 1 of 3
B18J (Official Form 18J) (12/07)

                                   United States Bankruptcy Court
                                           Northern District of Illinois
                                                Case No. 13−32365
                                                    Chapter 7

In re: Debtors (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Jorge L Santiago                               Nancy Santiago
   aka Jorge L Santiago Sr.                       12829 S. Blossom Drive
   12829 S. Blossom Drive                         Alsip, IL 60803
   Alsip, IL 60803
Social Security / Individual Taxpayer ID No.:
   xxx−xx−7107                                    xxx−xx−3462
Employer Tax ID / Other nos.:



                                    DISCHARGE OF JOINT DEBTORS

      It appearing that the debtors are entitled to a discharge, IT IS ORDERED: The debtors are
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                         FOR THE COURT


Dated: May 13, 2014                                      Jeffrey P. Allsteadt, Clerk
                                                         United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                           Certificate of Notice Page 2 of 3
B18J (Official Form 18J) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. A creditor who violates this
order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and
      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 13-32365-CAD
Jorge L Santiago                                                                                           Chapter 7
Nancy Santiago
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 1                          Date Rcvd: May 13, 2014
                                      Form ID: b18                       Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 15, 2014.
db/jdb        +Jorge L Santiago,   Nancy Santiago,    12829 S. Blossom Drive,   Alsip, IL 60803-2765
20868127      +Cook County Clerk,   69 W. Washington, Suite 500,    Chicago, IL 60602-3030
20868129       Equifax Information Services, LLC,    1550 Peachtree Street NW,   Atlanta, GA 30309
20868130      +Experian Information Solutions, Inc.,    475 Anton Boulevard,   Costa Mesa, CA 92626-7037
20868131      +HFC/Beneficial Mortgage Services,   Attn: Bankruptcy,    961 Weigel Drive,
                Elmhurst, IL 60126-1029
20868135      +Johnson, Blumberg, & Associates, LLC,    230 W. Monroe Street, Suite 1125,
                Chicago, IL 60606-4723
20868138      +Trans Union LLC,   1561 E. Orangethorpe Avenue,    Fullerton, CA 92831-5210

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
20868128     +E-mail/Text: lbankruptcy@cookcountytreasurer.com May 14 2014 00:54:59
               Cook County Treasurer’s Office,   118 North Clark Street, Room 112,    Chicago, IL 60602-1590
20868133     +EDI: HFC.COM May 14 2014 00:38:00     HSBC,   One HSBC Center,    Buffalo, NY 14203-2885
20868132     +EDI: HFC.COM May 14 2014 00:38:00     HSBC,   Po Box 5213,    Carol Stream, IL 60197-5213
20868134     +EDI: HFC.COM May 14 2014 00:38:00     HSBC Mortgage Services,    P.O. Box 9068,
               Brandon, FL 33509-9068
21354442     +EDI: HFC.COM May 14 2014 00:38:00     HSBC Mortgage Services, Inc.,    P.O. Box 21188,
               Eagan, MN 55121-0188
20868136     +EDI: MERRICKBANK.COM May 14 2014 00:38:00     Merrick Bank,    10705 S. Jordan Gateway,
               Suite 200,   South Jordan, UT 84095-3977
20868137     +EDI: MERRICKBANK.COM May 14 2014 00:38:00     Merrick Bank,    Po Box 5721,
               Hicksville, NY 11802-5721
                                                                                              TOTAL: 7

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: May 15, 2014                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 13, 2014 at the address(es) listed below:
              Joseph S Davidson    on behalf of Creditor    Caliber Home Loans, Inc. jdavidson@wirbickilaw.com
              Mohammed O Badwan    on behalf of Joint Debtor Nancy Santiago mbadwan@sulaimanlaw.com,
               mbadwan@sulaimanlaw.com;courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ECFNotice@sulaimanlaw.co
               m;SulaimanLaw@BestClientInc.com;sulaiman.igotnotices@gmail.com
              Mohammed O Badwan    on behalf of Debtor Jorge L Santiago mbadwan@sulaimanlaw.com,
               mbadwan@sulaimanlaw.com;courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ECFNotice@sulaimanlaw.co
               m;SulaimanLaw@BestClientInc.com;sulaiman.igotnotices@gmail.com
              Norman B Newman    nnewman@muchshelist.com, nsulak@muchshelist.com;IL83@ecfcbis.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Rocio Herrera     on behalf of Creditor    Household Finance Corporation III
               rocio@johnsonblumberg.com, bkecfnotices@johnsonblumberg.com
                                                                                              TOTAL: 6
